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                        IN THE I]NITED STATES DISTRICT COURT
                         FOR THE DISTRICT OFNORTHDAKOTA

  UNITED STATES OF AMERICA.
                                                    Case   No. 3:22-cr-223 -2
                      Plaintiff,
                                                    PLEAAGREEMENT


 RODOLFO ARZOLA-CARRILLO,

                     Defendant.

       Pursuant to Rule I i(c)(l)@) of the Federal Ruies of Criminal procedure, the

united states of America, by its attorneys, Mac schneider, united states Attorney for the

District of North Dakota, and Jacob T. Rodenbiker, Assistant United States Attomey;

Defendant, Rodolfo Arzola-Carrillo; and Defendant,s counsel, Mark A. Meyer, agree to

the following:

       i.        Defendant acknowledges the Indictment charges a violation ofTitle g,

United States Code, Sections 1324(a)(1)(A)(v)(I) and 132a(a)(iXBXi); and Title 18

United States Code, Section 2.

      2.     Defendant has read the charge and Defendant's attorney has fully explained

the charge to Defendant.

      3.     Defendant fuily understands the nature and elements of the charged cnme.

      4.     Defendant will plead guilty to the sole count of the Indictment.

      5.     The parties agree this Plea Agreement shall be f1led as part ofthe Court

record and be govemed by Rule 11(c) ofthe Federal Rules of Criminal Procedure. The
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parties specifically agree that Rule t t(c)(t)(C) does not apply. Ifthe United States makes

the non-binding recommendations specified in this Plea Agreement, then Defendant

acknowledges that    fiis   agreement   lvill   have been   fulfilled. Except as provided in

Rule 11(c)(5), the Courl's refusal to accept any or all terms of the Plea Agresment            does


not give Defendant a right to withdraw Defendant's guilty plea

       6.       Defendant will plead guilfy because Defendant is in fact guilty ofthe

charge. In pleading guilty to the sole count       ofthe Indictment, Defendant acknowledges

there is a sufficient factual basis to satisfy the essential elements, including the following:

             In or about November 2022, in the District of North Dakota and elsewhere,
             Rodolfo Arzola-Caruillo and Emesto Falcon Jr. agreed together and with others,
             known and unknown, to assist seven citizens of Mexico, who would be classified
             as aliens under the law ofthe United States. The plan was to move, transport, ard
             attempt to hansport and move the aliens from near the bolder between Canada and
            the United States to the southeastem region ofthe United States. The plan entailed
            the aliens first flying from Mexico to Canada, then making their way to the
             intemational border with the United States where Arzola-Carrillo and Falcon
            would meet them and transport them further. Arzola-Carrillo and Falcon would
            get paid for their efforts. They had done it before and could do it again. Arzola-
            Canillo and Falcon traveled from Georgia to North Dakota in order to carry out
            tliis plan. While they were staying at the Cedar Inn Hotel in Cavaiier, ND, late on
            November 16 or early the next morning, Arzola-Carrillo got a telephone call to
            pick up the group of aliens. Arzola-Carrillo and Falcon drove a van toward the
            remote area west ofNeche, ND, near the border, where they had aranged to meet
            this group of aliens. The van they intended to use for picking up and transporting
            the group ofaliens. It was the middle ofthe night, and the already hazardous
            weather conditions were detedorating rapidly due to temperature, snow, and wind.
            Arzola-Carrillo and Falcon's van got stuck. They got out and started walking and
            met up with the group-of aliens who had already crossed the border and entered
            into the United States. Arzola-Carrillo and Falcon bega! guiding the aliens on foot
            in the worsening weather. Arzola-Carrillo and Falcon decided the physica.l risk
            was too great for the two minor children in the group to continue, so they called
            for help and law enforcement rescued them.

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       7   .   Defendant understands the following maximum penalties apply:

       Imprisor,ment:                 1   0 years
       Fine:                          $250,000
       Supervised Release:            3 years
       Special Assessment:            $ 100


Defendant agree.s to pay the Clerk of United States District Court the special assessment

on or before the day of sentencing.

       8.      Defendant understands that by pleading guilty Defendant surrenders rights,

including:

               (a)    The right to a speedy publicjury trial and related rights as follow:

                      (i)    A jury would be composed of 12 lay persons selected at

               random. Defendant and Defendant's attorney would help choose the jurors

               by removing prospective jurors "for cause," where actual bias or other

               disqualification is shown; or by removing jurors without cause by

               exercising so-called peremptory challenges. The jury would have to agree

               unanimously before it could return a verdict. The jury would be instructed

               that Defendant is presumed innocent and that it could not retum a guilty

               verdict unless it found Defendant guilly beyond a reasonable doubt.

                      (ii)   At trial, the United States is required to present witness

               testimony and other evidence against Defendant. Defendant's attomey can

               confront and examine them. In tum, the defense can present witness

               testimony and other evidence. If witnesses for Defendant refuse to appear

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                voluntarily, Defendant can require their attendance through the subpoena

                power of the Couft.

                       (iiD   At trial, Defendant has a privilege against self-incrimination;

                thus, Defendant can decline to testify. No inference of guilt can be drawn

                from Defendant's refusal to testif,, Defendant can choose to testify but

                cannot be required to testiry.

                (b)    Defendant has a right to remain silent. However, under terms of the

       Plea Agreement, the Judge      will likely   ask Defendant questions about Defendant's


       criminal conduct to ensure that there is a factual basis for Defendant's plea.

       g.       Defendant understands that by pleading guilty Defendant is giving up all        of

the rights set forth in the prior paragraph, and there    will   be no trial. Defendant's attorney

has explained those rights, and consequences        ofDefendant's waiver.

       10.      The Court shall impose a sentence sufficient to comply with purposes set

forth in the Sentencing Reform Act. In doing so, the Court shali consider factors set forth

in 18 U.S.C. $ 3553(a) and must consult and consider the United States' Sentencing

Commission, Guidelines Manual. (Nov. 2021) (USSG). Defendant understands that the

united states Aftomey's o{fice will fully apprise the District court and the united states

Probation and Pretrial Services Office of the nature, scope, and extent of Defendanl's

conduct, including all matters in aggravation and mitigation of sentencing.

       1   1.   This Plea Agreement is binding only upon the United States Attorney for

the District of North Dakota.   It does not bind any united states Attorney outside the
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District of North Dakota, nor does it bind any state or local prosecutor. They remain 8ee

to prosecute Defendant for any offenses under their jurisdiction. This Plea Agreement

also does not bar or compromise any      civil or administrative claim.

       12.    The parties agree the base offense level under the Sentencing Guidelines for

Defendant's conduct is 12. (USSG $ 2L1.1(aX3)). The parties further agree the

downward adjustment under USSG $ 2L1.1(bX1) does not apply, because the offense

was for proflt and did not involve only Defendant's spouse or child. The parties further

agree a 3-level upward adjustment applies, because the offense involved 6-24 smuggled

aliens. (USSG $ 2L1.1(bX2XA)). The parties further agree an upward adjustment to leve1

18 applies, because the offense involved recklessly creating a substantial        risk ofserious

bodily injury to another person. (IJSSG     S   2L f . i(b)(6), The parties further agree no

adjustrnents under USSG S$ 38    1.   I or 38 1.2 apply.

       13.    At sentencing, United States agrees to recommend          a   2-level downward

adjustrnent for acceptance of responsibility, provided Defendant has demonshated a

genuine acceptance of responsibility. (USSG $ 381.1(a). The United States further

agrees to move   lor an additional 1-level downward adjustment for timely notiffing         the


United States ofDefendant's intention to enter a guilty plea, thus permitting the Court

and the United States to allocate their resources eff,iciently. (USSG S       3E1.1(b).

       14.    The parties stipulate and agree that, as ofthe date ofthis agreement,

Defendant appears to qualiry for a two-level downward adjustment for accepance of

responsibiliry. However, the government may, in its discretion, contest the adjustment
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under USSG $ 3E1.1(a) should Defendant subsequently fail to continue to accept

responsibility by failing to abide by the conditions ofrelease, ifapplicable; by providing

false information to the Court, the probation office. or the United Statss; by untawfully

using controlled substances; by attempting to obstruct justice; by breaching this Plea

Agreement; or by acting            ir   a   way that is inconsistent with, or failing to act in any way

that is consistent with the granting ofthe adjustment under USSG g 381.1(a).

       15.         Neither the Court nor the Probation Office is a party to the Plea Agreement.

Neither the Court iior the Probation Office is bound by the Plea Agreement as to

determining the Sentencing Guideline range. The Court may apply other adjustments the

parties have not agreed upon. The Court may also depart from the applicable Guideline

range. See USSG S 1B f .i, comment.                   (n.1(F). The Court may also vary or impose a

sentence outside the Guideline framework. See USSG $ 181.1, comment. (backg'd.). The

parties reserve the right to object to any adjustment, departure, or variance not otherwise

agreed upon, forfeited, or waived in this plea agreement.

       t6.         At sentencing, the United            States   will recommend   a   term of imprisonment

and supervised release at          tle low      end   ofthe applicable Guideline range.

       17   .      Defendant acknowledges and undemtands that if Defendant violates any

term ofthis Plea Agreement, engages in any further criminal activity, or fails to appear

for sentencing, the United States will be released from its commitments. In that event,

this Plea Agreement shall become null and void at the discretion of the United States, and

Defendant       will   face the   following consequences: (1) all testimony and other information
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Defendant has provided at any time to attomeys, employees, or law enforcement officers

of the government, to the Court, or to the Federal Grand Jury, may be used against

Defendant in any prosecution or proceeding; and (2) the United States will be entitled to

reinstate previously dismissed charges and/or pursue additional charges against

Defendant and to use any information obtained directly or indirectly from Defendant in

those additional prosecutions. Nothing in this agreement prevents the United States from

prosecuting Defendant for perjury, false statements, or false declarations, ifDefendant

commits such acts in connection with this agreement or otherwise.

       18.    The United States will file a Supplement in this cass, as is routinely done in

every case, even though there may or may not be any additional terms. Defendant and

Defendant's attomey acknowledge that no tkeats, promises, or representations exist

beyond the terms of this Plea Agreement.

       19.    Defendant's Waiver of Appeal. Defendant acknowledges having been

advised by counsel of Defendant's rights to appeal the oonviction or sentence in this case,

including the appeal right conferred by l8 U.S.C. $ 3142, and to challenge the conviction

or sentence collaterally through post-conviction proceedings, including proceedings

under 28 U.S.C. S 2255. Defendant understands these rights, and in exchange for the

concessions made by the United States in this plea agreement, Defendant hereby

knowingly and voluntarily rvaives these rights, except   as   specifically reserved herein.

Defendant's rvaiver ofthese rights includes, but is not limited to, a waiver ofall rights to

appeal or to collaterally aftack: Defendant's conviction or sentence; all non-jurisdictional
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issues; any assessment, rcstitution or forfeiture order; the constitutionality   ofthe

applicable guidelines; and the constitutionality of the statute(s) to which Defendant is

pleading guilty or under which Defendant is sentenced, or to argue that the admitted

conduct does not fall within the scope of the statute(s). Defendant reserves the right to

appeal a sentence of imprisonment imposed above the upper end        ofthe applicable

guidelines range and the right to appeal or to collaterally attack the conviction or sentence

based on a claim of   ineffective assistance ofcounsel that challenges the validity of the

guiity plea or this waiver. The United States expressly reseryes the right to appeal from

an unreasonable sentence.

       20.    By signing this Plea Agreement, Defendant further specifically waives

Defendant's right to seek to withdraw Defendant's plea of guilry under Rule 11(d) of the

Federal Rules of Criminal Procedure once the plea has been entered in accordance with

this agreement. The appellate court will enforce such waivers. Defendant agrees that any

attempt to withdraw Defendant's plea     wili   be denied and any appeal of such denial

should be dismissed.

       21.    Defendant understands that by pleading guilty he will be convicted, and

that any individual convicted who is not a United States citizen may be removed from the

United States, denied citizenship, and denied admission to the United States in the future.

Defendant's attomey has explained this consequence of his guilty plea.

       22.    The Assistant United States Attorney and attomey for Defendant agree to

abide by the provisions of Rule 32(f) ofthe Federal Rules of Criminal Procedure. The
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attomeys acknowledge their obligation to use good-faith efforts to resolve any disputes

regarding the Presentence Investigation Report through a presentence conference or other

informal procedures.

         23.    Defendant acknowledges reading and understanding all provisions ofthe

Plea Agreement. Defendant and Defendant's attorney have discussed the case and

reviewed the Plea Agreement. They have discussed Defendant's constitutional and other

rights, including, but not limited to, Defendant's plea-statement dghts under Rule 410   of
the Federal Rules ofEvidence and Rule    1   1(0 ofthe Federal Rules of Criminal procedure.

         AGREED:

                                             MAC SCHNEIDER
                                             United States Attomey


Dated:      )                     3           l-SmL;t
                                          By: JACOB T. RODENBIKER
                                          Assistant United States Attomey


Dated              v-tr-s9                Et,Lrz* ,f/'C
                                          RODOLFO ARZOLA.CARRILLO
                                          Defendant

                                                                I
Dated:             u-   tt4   >                               /1
                                                     fbr Defendant




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